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                         UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                              SOUTHERN DIVISION


STATE OF TENNESSEE, et al.,

                Plaintiffs,

        v.                                            No. 1:24-cv-00161-LG-BWR

ROBERT F. KENNEDY, JR., in his official
  capacity as Secretary of the United States
  Department of Health and Human
  Services, et al.,

                Defendants.


                        ORDER ENTERING BRIEFING SCHEDULE
       The parties have conferred on next steps and agreed that this matter is amenable to

resolution through the filing of dispositive motions. The parties have further conferred and

agreed on a proposed briefing schedule in this litigation. The Court enters the briefing schedule

agreed to by the parties as follows:
 •   April 25, 2025 – Plaintiffs’ Motion for Summary Judgment

 •   May 16, 2025 – Defendants’ Opposition and Cross-Motion to Dismiss

 •   May 30, 2025 – Plaintiffs’ Reply in Support of Motion for Summary Judgment and

     Opposition to Defendants’ Cross-Motion to Dismiss

 •   June 9, 2025 – Defendants’ Reply in Support of Cross-Motion to Dismiss.

       Because of the parties' agreement on a dispositive motions briefing schedule, the parties

agree that Defendants need not file an Answer to the Complaint. The Court vacates the

scheduled April 24 status conference.


                                            s/Bradley W. Rath
                                            BRADLEY W. RATH
                                            UNITED STATES MAGISTRATE JUDGE
